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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

Vv. Cr. No. 18-10450-MLW
ERICK LOPEZ FLORES,
HENRI SALVADOR GUTIERREZ,
ELISEO VAQUERANO CANAS,
JONATHAN TERCERO YANES,
MARLOS REYES, and
DJAVIER DUGGINS,
Defendants.

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WOLF, D.J. January 13, 2022

For the reasons discussed at the January 12, 2022 hearing, it
is hereby ORDERED that:

1. The sentencing hearings scheduled for January 13, 19,
20, and 21, 2022 are CANCELED.

2. The sentencing hearings for all defendants except Marlos
Reyes! shall begin on February 8, 2022 and continue from day to
day until February 16, 2022.

3. As agreed by each defendant, see Dkt. No. 803, all time
until the court decides that it is possible and prudent to conduct

his sentencing is EXCLUDED for Speedy Trial Act purposes.

 

1 For the purposes of this Order references to "defendants" do not
include Marlos Reyes.
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4. The parties shall confer and, by January 21, 2022, at 12:00
noon:

(a) Report whether each defendant consents to have all
or part of his sentencing hearing conducted by videoconference.

(b) Identify the objections to each defendant's
Presentence Report that affect the calculation of the Sentencing
Guidelines range.

(c) File any additional evidence a party proposes the
court consider at sentencing, including, but not limited to, any
such evidence concerning the murder of Blanca Lainez, whether
defendant Djavier Duggins and/or Erick Lopez Flores should get a
Guidelines enhancement for obstruction of justice, and the
transcript of the grand jury testimony of CW-19 concerning
discussions prior to the murder of Herson Rivas.

(d) File additional briefing on any of the issues
discussed at the January 12, 2022 hearing, including, but not
limited to, whether any argument by the government concerning the
Lainez murder would be inconsistent with its obligations under

Santobello v. New York, 404 U.S. 257 (1971), United States v.

 

Canada, 960 F.2d 263 (1st Cir. 1992), and related caselaw.

(e) State whether any party now requests an opportunity
to have witnesses, who shall be identified, testify at a
defendant's sentencing and, if so, explain the justification for

the request.
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(f£) Describe with specificity any conflict any counsel
has with the sentencing hearings now scheduled for February 8 to
16, 2022.

(g) Address any other issues relevant to sentencing.

5. By January 28, 2022, at 12:00 noon:

(a) The parties shall file any responses to the January
21, 2022 submissions.

(b) Each defendant shall file an updated report on his
COVID-19 vaccination status, and state whether he is or recently
was infected by COVID-19.

6. A presentencing conference shall be held, by
videoconference, on February 2, 2022, at 2:00 p.m. The defendants
shall attend.

7. The parties shall order an expedited transcript of the

January 12, 2022 hearing.

 

UNITED STATES DISTRICT JUDGE
